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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 UNITED STATES

        v.                                             Criminal Action No. 24 - 381 (LLA)

 GERALD POWELL,

                Defendant.



                                              ORDER

       This matter is before the court on the United States’ Motion to Dismiss the Indictment.

ECF No. 23. Pursuant to Federal Rule of Criminal Procedure 48(a), it is hereby

       ORDERED that the motion is GRANTED and the Indictment, ECF No. 14, is

DISMISSED WITH PREJUDICE. It is further

       ORDERED that all pending deadlines and hearings in this case are VACATED. The

Clerk of Court is directed to terminate this case.

       SO ORDERED.




                                                     LOREN L. ALIKHAN
                                                     United States District Judge

Date: January 27, 2025
